        Case 23-08222        Doc 10     Filed 08/14/23 Entered 08/14/23 14:38:24             Desc Main
                                          Document     Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION
Honorable       A. Benjamin Goldgar                              Hearing Date            August 14, 2023

Bankruptcy Case                   23 B 08222                     Adversary No.

Title of Case                                   Empire Construction Company


Brief                         Order granting oral motion of petitioning creditors to dismiss case
Statement of
Motion




Names and
Addresses of
moving
counsel


Representing



                                                     ORDER

                For the reasons stated on the record, the oral motion of the petitioning creditors to dismiss the
                case is granted. The case is dismissed.
